      Case 2:19-cv-00235 Document 18 Filed on 09/18/20 in TXSD Page 1 of 2
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                              September 18, 2020
                          UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

ROSEMARIE PENA,                                §
                                               §
          Plaintiff,                           §
VS.                                            § CIVIL ACTION NO. 2:19-CV-235
                                               §
ANDREW SAUL,                                   §
                                               §
          Defendant.                           §

         ORDER ADOPTING MEMORANDUM AND RECOMMENDATION

         Before the Court is Magistrate Judge Jason Libby’s Memorandum and

Recommendation (M&R). (D.E. 10). The M&R recommends that Plaintiff’s motion for

summary judgment be denied, the Commissioner’s determination be affirmed, and

Plaintiff’s cause of action be dismissed. Id. at 1.

         The parties were provided proper notice of, and the opportunity to object to, the

Magistrate Judge’s M&R. See U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b); General Order

No. 2002-13. Plaintiff filed objections to the M&R. (D.E. 15). Defendant responded to

Plaintiff’s objections. (D.E. 22). Having carefully reviewed the proposed findings and

conclusions of the M&R, the record, the applicable law, and having made a de novo review

of the portions of the M&R to which the Plaintiff’s objections were directed, 28 U.S.C.

§ 636(b)(1), the Court OVERRULES Plaintiff’s objections (D.E. 15). Accordingly, the

Court:

   (1) ADOPTS the M&R in its entirety. (D.E. 10).

   (2) Plaintiff’s motion for summary judgment (D.E. 8) is DENIED.


1/2
      Case 2:19-cv-00235 Document 18 Filed on 09/18/20 in TXSD Page 2 of 2




  (3) The Commissioner’s determination is AFFIRMED.

  (4) Plaintiff’s cause of action is DISMISSED.



             SIGNED and ORDERED this 18th day of September 2020.



                                             DAVID S. MORALES
                                             UNITED STATES DISTRICT JUDGE




2/2
